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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
This opinion/order has been withdrawn per order of the Tenth Court of Appeals.






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&nbsp;

IN THE

TENTH COURT OF
APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-03-00060-CR

No.
10-03-00061-CR

&nbsp;

Terry Jerome Beck,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 179th District Court

Harris County, Texas

Trial Court Nos. 564,661 and 564,662

&nbsp;



Opinion



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal concerns convictions for indecency
with a child.&nbsp; Appellant filed a motion
for forensic DNA testing.&nbsp; See Tex.
Code Crim. Proc. Ann. ch.&nbsp;64 (Vernon Supp. 2004).&nbsp;
Appellant’s appointed appellate counsel has filed an Anders brief.&nbsp; See
Anders v. California, 386 U.S. 738 (1967).&nbsp;
We will affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
has filed a brief.&nbsp; See Anders at 744; Ayala v.
State, 633 S.W.2d 526, 527 (Tex. Crim. App. 1982).&nbsp; The State has filed a response.&nbsp; See
Sowels v. State, 45 S.W.3d 690, 694 (Tex. App.—Waco 2001, no pet.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have conducted an independent review of the record to discover whether there
are arguable grounds for appeal.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991); see also Anders
at 744.&nbsp; We determine that there are
none.&nbsp; Appellant complains, in part, of
his 1990 conviction.&nbsp; We do not have
jurisdiction to address those untimely complaints.&nbsp; Appellant contends that he is not receiving
the assistance of counsel.&nbsp; No
requirement of constitutionally effective assistance applies in Chapter 64 proceedings.&nbsp; Morris
v. State, 110 S.W.3d 100, 103 (Tex. App.—Eastland 2003, pet. ref’d); see Ex parte Graves, 70 S.W.3d 103, 110 (Tex. Crim. App. 2002)
(constitutionally effective assistance of counsel not required in collateral
attacks).&nbsp; Appellant also complains that
he should have been permitted to “scope” the State’s entire file.&nbsp; A defendant has no general right to discovery
of non-exculpatory evidence.&nbsp; See Washington v.
State, 856 S.W.2d 184, 184
(Tex. Crim. App. 1993).&nbsp; Appellant does
not frame an arguable claim that the State possesses material exculpatory
evidence.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the judgment.&nbsp; Counsel must advise
Appellant of our decision and of his right to file a petition for discretionary
review.&nbsp; See Sowels at 694.

TOM
GRAY

Chief Justice

Before
Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice Reyna

Opinion
delivered and filed August 11, 2004

Affirmed

Do
not publish

[CRPM]





